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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                               3:94cr03136/RV

BENNIE CLEVELAND WILLIAMS


                                                 ORDER

        The defendant has filed a notice of appeal (doc. 311) which this court construes as
a request for a certificate of appealability.1 Defendant appeals the court’s denial of his
Rule 60(b) motion. (Doc. 309). Unless a certificate of appealability is issued, the defendant
may not take an appeal from the final order denying a Rule 60(b) motion. Gonzalez v.
Secretary of Department of Corrections, 317 F.3d 1308, 1312 (11th Cir. 2003). A certificate
of appealability should not issue in the appeal from the denial of a Rule 60(b) motion in a
habeas case unless the petitioner/defendant shows, at a minimum, that it is debatable
among jurists of reason whether the district court abused its discretion, see Mobley v.
Head, 306 F.3d 1096, 1097 (11th Cir. 2002) (“This Court reviews a denial of a 60(b) motion
for an abuse of discretion.”). Because the court finds the defendant has not made the
requisite showing, his request for a certificate of appealability is DENIED. Defendant has
not filed a motion for leave to proceed in forma pauperis. The court finds that the appeal
is not taken in good faith and he is not otherwise entitled to so proceed. Fed.R.App.P.
24(a)(3). Therefore, defendant shall pay the $455.00 filing fee within thirty days.
        DONE AND ORDERED this 15th day of December, 2006.


                                                 /s/ Roger Vinson
                                                 ROGER VINSON
                                                 SENIOR UNITED STATES DISTRICT JUDGE




        1
         See Edwards v. United States, 114 F.3d 1083 (11TH Cir. 1997) (district courts must treat notices of
appeal in Section 2255 actions as applications for certificates of appealability).
